                     Case 3:22-cr-01945-KC Document 72 Filed 07/25/23 Page 1 of 7

                                  UNITED STATES DISTRICT COURT
                                            WESTERN DISTRICT OF TEXAS
                                                    EL PASO DIVISION

UNITED STATES OF AMERICA

          v.                                                         Case Number: EP:22-CR-01945-KC(1)
                                                                     USM Number: 31068-510
MAURICIO GONZALEZ LEYVA

        Defendant.

                                         JUDGMENT IN A CRIMINAL CASE
                                   (For Offenses Committed On or After November 1, 1987)

        The defendant, MAURICIO GONZALEZ LEYVA, was represented by Jeffrey Dean Rago.

        On motion by the United States, the Court has dismissed the Indictment and Information.

       The defendant pled guilty to Count One of the Amended Information on May 1, 2023. Accordingly, the
defendant is adjudged guilty of such Count(s), involving the following offense(s):

Title & Section / Nature of Offense                                           Offense Ended                 Count

18 U.S.C. 933(a)(1), 933(a)(3), and 933(b) - Conspiracy Trafficking in        October 26, 2022              One
Firearms

       As pronounced on July 24, 2023, the defendant is sentenced as provided in pages 2 through 7 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

        It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of
any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by
this Judgment are fully paid. If ordered to pay restitution, the defendant shall notify the Court and United States Attorney
of any material change in the defendant’s economic circumstances.

        SIGNED this 25th day of July, 2023.




                                      KATHLEEN CARDONE
                                      UNITED STATES DISTRICT JUDGE
                        Case 3:22-cr-01945-KC Document 72 Filed 07/25/23 Page 2 of 7
AO 245B (Rev. TXW 09/19) Judgment in a Criminal Case                                                             Judgment -- Page 2 of 7

DEFENDANT:                   MAURICIO GONZALEZ LEYVA
CASE NUMBER:                 EP:22-CR-01945-KC(1)

                                                       IMPRISONMENT

         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a term of
thirty (30) months as to count one.

         The Court makes the following recommendations to the Bureau of Prisons:

         That the defendant be incarcerated in a federal facility as close to El Paso, Texas as possible.

         The defendant shall surrender for service of sentence on or before 2:00 PM on September 25, 2023, either at the
institution designated by the Bureau of Prisons or to the Office of the United States Marshal.




                                                           RETURN

          I have executed this Judgment as follows:




          Defendant delivered on                         to
at                                                                         , with a certified copy of this Judgment.


                                                                                United States Marshal

                                                                          By
                                                                                Deputy Marshal
                        Case 3:22-cr-01945-KC Document 72 Filed 07/25/23 Page 3 of 7
AO 245B (Rev. TXW 09/19) Judgment in a Criminal Case                                                     Judgment -- Page 3 of 7

DEFENDANT:                   MAURICIO GONZALEZ LEYVA
CASE NUMBER:                 EP:22-CR-01945-KC(1)

                                                        SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of three years.

         While on supervised release, the defendant shall comply with the mandatory, standard and if applicable, the
special and/or additional conditions on the attached pages that have been adopted by this Court.

                                                       MANDATORY CONDITIONS

1.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.  You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days
    of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
          ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk
                of future substance abuse. (check if applicable)
4. You shall submit to the collection of a DNA sample from you at the direction of the United States Probation Office
    if the collection of such a sample is authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act
    of 2000 (42 U.S.C. § 14135a).
5. ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
          20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
          agency in which you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
6. ☐ You must participate in an approved program for domestic violence. (check if applicable)
7. ☐ You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664.
          (check if applicable)
8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
9. If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
10. You must notify the court of any material change in your economic circumstances that might affect your ability to
    pay restitution, fines, or special assessments.
                        Case 3:22-cr-01945-KC Document 72 Filed 07/25/23 Page 4 of 7
AO 245B (Rev. TXW 09/19) Judgment in a Criminal Case                                                     Judgment -- Page 4 of 7

DEFENDANT:                   MAURICIO GONZALEZ LEYVA
CASE NUMBER:                 EP:22-CR-01945-KC(1)

                                   STANDARD CONDITIONS OF SUPERVISED RELEASE

As part of your supervised release, you must comply with the following standard conditions of supervision. These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify
the minimum tools needed by probation officers to keep informed, report to the court about, and bring about
improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72
      hours of your release from imprisonment, unless the probation officer instructs you to report to a different probation
      office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer
      about how and when you must report to the probation officer, and you must report to the probation officer as
      instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
      permission from the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about
      your living arrangements (such as the people you live with), you must notify the probation officer at least 10 days
      before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances,
      you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
      probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
      view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
      excuses you from doing so. If you do not have full-time employment you must try to find full-time employment,
      unless the probation officer excuses you from doing so. If you plan to change where you work or anything about
      your work (such as your position or your job responsibilities), you must notify the probation officer at least 10 days
      before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
      circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
      change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know
      someone has been convicted of a felony, you must not knowingly communicate or interact with that person without
      first getting the permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
      anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
      person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
      informant without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation
      officer may require you to notify the person about the risk and you must comply with that instruction. The probation
      officer may contact the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. I understand additional information regarding these conditions is
available at the www.uscourts.gov.

Defendant’s Signature                                                                     Date
                        Case 3:22-cr-01945-KC Document 72 Filed 07/25/23 Page 5 of 7
AO 245B (Rev. TXW 09/19) Judgment in a Criminal Case                                                   Judgment -- Page 5 of 7

DEFENDANT:                   MAURICIO GONZALEZ LEYVA
CASE NUMBER:                 EP:22-CR-01945-KC(1)

                                     SPECIAL CONDITIONS OF SUPERVISED RELEASE


X        If ordered deported from the United States, the defendant must remain outside the United States and will be
         placed on nonreporting supervised release.

X        If ordered deported from the United States and the defendant re-enters the United States or is released from
         confinement or not departed, he or she must report to the nearest U.S. Probation Office within 72 hours and the
         defendant shall be placed on reporting supervised release.
                        Case 3:22-cr-01945-KC Document 72 Filed 07/25/23 Page 6 of 7
AO 245B (Rev. TXW 09/19) Judgment in a Criminal Case                                           Judgment -- Page 6 of 7

DEFENDANT:                   MAURICIO GONZALEZ LEYVA
CASE NUMBER:                 EP:22-CR-01945-KC(1)

                                  ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

X        The defendant shall submit his or her person, property, house, residence, vehicle, papers, [computers as
         defined in 18 U.S.C. Section 1030(e)(1), other electronic communications or data storage devices or
         media,] or office to a search conducted by a United States Probation Officer. Failure to submit to a
         search may be grounds for revocation of release. The defendant shall warn any other occupants that
         the premises may be subject to searches pursuant to this condition. Any search must be conducted at a
         reasonable time and in a reasonable manner.
                                Case 3:22-cr-01945-KC Document 72 Filed 07/25/23 Page 7 of 7
AO 245B (Rev. TXW 09/19) Judgment in a Criminal Case                                                                                                                  Judgment -- Page 7 of 7

DEFENDANT:                             MAURICIO GONZALEZ LEYVA
CASE NUMBER:                           EP:22-CR-01945-KC(1)

                                                   CRIMINAL MONETARY PENALTIES/ SCHEDULE

        The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of
payments set forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment
of criminal monetary penalties is due during the period of imprisonment. Criminal Monetary Penalties, except those
payments made through Federal Bureau of Prisons’ Inmate Financial Responsibility Program shall be paid through the
Clerk, United States District Court, Attn: Mail Log, Albert Armendariz, Sr. United States Courthouse, 525 Magoffin
Avenue, Suite 105, El Paso, TX, 79901 or online by Debit (credit cards not accepted) or ACH payment (direct from
Checking or Savings Account) through Pay.gov (link accessible on the landing page of the U.S. District Court’s Website).
Your mail-in or online payment must include your case number in the exact format of DTXW322CR001945-001 to
ensure proper application to your criminal monetary penalty. The defendant shall receive credit for all payments
previously made toward any criminal monetary penalties imposed.
                                Assessment                     Restitution                         Fine               AVAA Assessment*                         JVTA Assessment**
  TOTALS:                              $100.00                             $.00                    $.00                                           $.00                                     $.00

                                                                                  Special Assessment

             It is ordered that the defendant shall pay to the United States a special assessment of $100.00.

                                                                                               Fine

             The fine is waived because of the defendant’s inability to pay.




           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or percentage
payment column above. However, pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United States is paid.

             If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed. See 18 U.S.C. §3614.

           The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of the
judgment, pursuant to 18 U.S.C. §3612(f). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

           Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5) fine principal, (6) fine interest, (7)
community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution and court costs.

             Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994, but before
April 23, 1996.

             * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.

             ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
